Case 2:25-cv-00197-JCZ-DPC   Document 229   Filed 06/17/25    Page 1 of 11




                                                        RECEIVED
                                                              JUN 17 2025
                                                             U.S. DISTRICT COURT
                                                        EASTERN DISTRICT OF LOUISIANA
                                                               DEPUTY CLERK




                  UNITED STATES DISTRICT COURT

                  EASTERN DISTRICT OF LOUISIANA




HIRAN RODRIGUEZ,                              CIVIL ACTION NO. 2;25-cv-00197

PLAINTIFF                                     SECTION A

                                              JUDGE JAY C. ZAINEY

V.


                                              DIVISION 2

META PLATFORMS, INC., ETAL.                   MAGISTRATE JUDGE

DEFENDANTS                                     DONNA P. CURRAULT




                                              JURY TRIAL DEMANDED




PLAINTIFF’S MOTION TO SUPPLEMENT THE RECORD
   Case 2:25-cv-00197-JCZ-DPC              Document 229        Filed 06/17/25    Page 2 of 11




Plaintiff, Hiran Rodriguez, respectfully moves this Honorable Court to supplement the record

with newly available evidence arising after dismissal but bearing directly on the constitutional

and factual integrity of the proceedings now on appeal to the United States Court of Appeals

for the Fifth Circuit, Case No. 25-30297, and also relevant to Plaintiffs pending Writ of

Mandamus in Case No. 25-30279. In support thereof. Plaintiff states the following:



1. Procedural Background


    1. On May 22, 2025, this Court entered final judgment dismissing Plaintiffs claims with

       prejudice. [Rec. Docs. 223, 224].

   2. Prior to that judgment. Plaintiff lodged digital and manual evidence with the Clerk,

       including surveillance videos, forensic data, and notices of harassment. [Rec. Docs. 207-

       213].

   3. Plaintiff filed a Notice of Appeal on May 13, 2025 [Rec. Doc. 211], and the matter is now

       pending before the Fifth Circuit as Rodriguez v. Meta Platforms, Case No. 25-30297. A

       related Mandamus Petition, In re Hiran Rodriguez, No. 25-30279, was docketed the same

       week.




n. New Evidence - Teladoc Health Record (Exhibit “P”)


   4. On June 2,2025, Plaintiff received a medical consultation from Teladoc Health, following

       a highly disturbing incident on June 1,2025, where a train operator conducted a prolonged

       horn blast outside Plaintiffs residence shortly after court activity.




                                                                                                   2
  Case 2:25-cv-00197-JCZ-DPC                Document 229        Filed 06/17/25      Page 3 of 11




   5.   This incident is part of a broader pattern of intimidation, surveillance, and psychological

        targeting connected to state actors and corporate defendants.

   6.   The Teladoc physician diagnosed Plaintiff with;


        • R00.2 - Palpitations


        • F43.0 - Acute Stress Reaction



   7.   The medical record explicitly acknowledges that the triggering event “felt intentional and

        targeted,” documenting chest pressure, panic, fear, and trauma symptoms.

   8.   The provider recommended urgent cardiac evaluation and mental health follow-up, making

        this record highly material to;


        • the integrity of the judicial process.


        • the necessity of equitable relief, and


        • the factual basis for Plaintiffs retaliation, privacy, and surveillance claims.




ni. Relief Requested


   9. Plaintiff respectfully moves the Court to;


        • Supplement the record with the attached Exhibit “P” (Teladoc Health Record dated June

        2, 2025).




                                                                                                   3
   Case 2:25-cv-00197-JCZ-DPC              Document 229         Filed 06/17/25     Page 4 of 11




        • Transmit the updated record to the Fifth Circuit for use in Case Nos. 25-30297 and 25-

        30279.




        • Take judicial notice of the escalating retaliation post-dismissal in support of any pending

        or future motions for injunctive or protective relief




IV. Reservation of Rights & Jurisdictional Protest


Plaintiff reserves alt rights secured under the Constitution for the United States of America,

including but not limited to the First, Fourth, Fifth, Sixtii, Seventh, and Fourteenth Amendments.

No waiver of jurisdiction, consent, or joinder shall be implied from Plaintiffs participation under

protest in a forum proceeding under color of law without Article III authority. This filing is not

consent to unlawful surveillance, constructive joinder, nor federal preemption in the absence of

legislative mandate.




V. Conclusion



WHEREFORE, Plaintiff prays this Honorable Court to grant this motion forthwith and order the


supplementation of the official record with Exhibit “P.” This Court’s acceptance and transmission


of this critical new evidence is essential to preserve Plaintiffs constitutional claims, to uphold the


due process and integrity of the ongoing appellate proceedings, and to forestall further harm


inflicted by continued state and corporate retaliation.


                                                                                                    4
   Case 2:25-cv-00197-JCZ-DPC              Document 229         Filed 06/17/25      Page 5 of 11




Plaintiff respectfully demands the Court recognize the urgent necessity of this supplementation,


reject any attempts to dismiss or imdermine the validity of this evidence, and act decisively to


safeguard Plaintiffs rights and preserve the evidentiary foundation for justice on appeal.


Plaintiff expressly reserves all rights to pursue any and all available remedies, including injunctive.


mandamus, or other extraordinary relief, should this motion be denied or delayed.


Respectfully submitted.




Is/ Hiran Rodriguez


Pro Se Plaintiff



Date: June 4, 2025




                                                                                                     5
   Case 2:25-cv-00197-JCZ-DPC             Document 229         Filed 06/17/25      Page 6 of 11




       RESERVATION OF RIGHTS AND NON-CONSENT DECLARATION



Plaintiff expressly reserves all rights, remedies, and protections secured under the Constitution and

laws of the United States, including but not limited to those under the First, Fourth, Fifth, Sixth,

Seventh, and Fourteenth Amendments. No waiver of any such rights - either substantive or

procedural - is intended or implied by the filing of this motion or any previous or future

participation in this case. Plaintiff further declares that he does not consent to any proceedings.

orders, or requirements that are contrary to or beyond the lawful authority of the Court or that

violate his constitutional rights. By submitting this motion. Plaintiff does not consent to the

jurisdiction of any magistrate judge on any dispositive matter, and he reserves the right to challenge

ex post facto any act which exceeds the Court’s jurisdiction or contravenes due process. All

objections and exceptions are preserved to the fullest extent of the law.




                                                                                                    6
   Case 2:25-cv-00197-JCZ-DPC             Document 229        Filed 06/17/25      Page 7 of 11




                               CERTIFICATE OF SERVICE



I hereby certify that a true and correct copy of the foregoing Motion to Supplement the Record

was served upon all counsel of record on this 4th day of June, 2025. In light of the Court’s filing

restrictions (Rec. Docs. 186 and 188), which currently prevent electronic filing by the

undersigned, service was effectuated via electronic mail to counsel and staff grouped by law firm

as listed below. This includes all attorneys who have appeared, as well as legal assistants and

docketing personnel previously associated with filings in this matter, to ensure full and proper

notice under Fed. R. Civ. P. 5(b).


Baker Donelson




• ddeamore@bakerdonelson.com


• ekesler@bakerdonelson.com


• lcarlisle@bakerdonelson.com


• psigmon@bakerdonelson.com


• ptorres@bakerdonelson.com


• scefolia@bakerdonelson.com


Breazeale, Sachse & Wilson LLP (BSW LLP)


• eve.masinter@bswllp.com


• jamie.blanchard@bswllp.com


                                                                                                   7
   Case 2:25-cv-00197-JCZ-DPC        Document 229   Filed 06/17/25   Page 8 of 11




• karen.webre@bswllp.com


• margaret.beyer@bswllp.com


• philip.giorlando@bswllp.com


Jefferson Parish Attorney’s Office


• colin.cisco@jeffparish.net


• rharang@je:f^arish.net


Adams and Reese LLP



• hailey.cummiskey@arlaw.com


• roland.vandenweghe@arlaw.com


• yvonne.evans@arlaw.com


Courington, Kiefer, Sommers, Marullo & Matheme


• cfalcon@courington-law.com


• ckrake@courington-law.com


• dculotta@courington-law.com


• spratt@courington-law.com


• vmatheme@courington-law.com


                                                                                    8
   Case 2:25-cv-00197-JCZ-DPC     Document 229   Filed 06/17/25   Page 9 of 11




Fishman Hay good LLP


• lmince@fishmanhaygood.com


• Scott, Naquin & Wheat


• jenny@snw.law


• katherine@snw.law


• meriem@snw.law


• scott@snw.law


• su2y@snw.law


• teena@snw.law


Phelps Dunbar LLP (PHJ Law)


• edesforges@phjlaw.com


• jnieset@phjlaw.com


Davis Wright Tremaine LLP (DWT)


• christinehanley@dwt.com


• fi-ankromero@dwt.com


• jamesmoon@dwt.com


                                                                                 9
  Case 2:25-cv-00197-JCZ-DPC            Document 229   Filed 06/17/25   Page 10 of 11




• tkarlaolivas@dwt.coin


• lindsaysaniuel@dwt.com


• lit-docket@dwt.com


• tonyafrazier@dwt.com


Irwin, Fritchie, Urquhart & Moore LLC


• ataylor@irwinllc.com


• gurquhart@irwinllc.com


• lrichard@irwinllc.com


• rlotz@irwinllc.com


• starr@irwmllc.com




Executed on June 4, 2025.


Metairie, Louisiana




/s/ Hiran Rodriguez


Hiran Rodriguez


                                                                                        10
  Case 2:25-cv-00197-JCZ-DPC   Document 229   Filed 06/17/25   Page 11 of 11




Pro Se Plaintiff



820 Grove Ave,


Metairie, LA, 70003-7024


(504) 203-8459


hiranrodriguez@outlook. com




                                                                               11
